UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

METSO MINERAL INDUSTRIES, INC.,

Plaintiff,

v. Case No. 07-CV-926

Judge J.P..Stadtmueller
FLSMIDTH-EXCEL LLC, EXCEL

FOUNDRY & MACHINE, INC., JOSEPH P.
MARTINEZ, CHERYL A. SULLIVAN,
RICHARD A. PARSONS, DOUGLAS M.
PARSONS, KENNETH L. OLSON, and
CHRISTOPHER P. WADE,

Defendants.

 

DECLARATION OF AMY L. LINDNER

 

I, Amy L. Lindner, declare and state as follows:

1. I am one of the attorneys representing Defendants FLSmidth-Excel LLC ,
Excel Foundry & Machine, Inc., Kenneth L. Olson, Douglas M. Parsons, Richard A.
Parsons and Christopher P. Wade. I have personal knowledge as to the matters set forth
below.

2. Separately filed under seal as Exhibit 1 is a true and correct copy of the
Expert Report of David B. Lasatar.

3. Attached as Exhibit 2 is a true and correct copy of the webpage cited by
Metso: http://www.ftc.gov/os/2001/09/metsoanalysis.htm.

4. . Attached as Exhibit 3 is a true and correct copy is a copy of Metso's
Employee memorandum regarding the "Integration Process", produced by Metso at

MMO0015061.

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I declare the foregoing is true under the penalty of perjury.

Dated this 24th day of May, 2010.

s/_ Amy L. Lindner

Amy L. Lindner

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